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                                                                          Original Filed
 1                                                                       MAY 13 2.022
 2
                                                                  TIMOTHY W. FITZGERALD
                                                                  8POKANP 0,P0t.i1Y QUIRK
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 6
                   IN'THE SUPERIOR COURT OF THE STATE OF WASHINGTON
 7                         IN AND FOR THE COUNTY OF SPOKANE
 8
        GILBERT A. VALENCIA,an
 9

10
        unmarried individual; and MATTHEW
        VALENCIA,an unmarried individual                     N°   2220 522
                                                             SUMMONS
11                                     Plaintiffs,

12

13
                                e for-profit
14                             Y #1494;
       "DOE BUSINESS", an unknown
15     vendor; and JOHN DOES 1-1.0,
       individual(s)
16

17                                  Defendants.

18   TO:           SAFE WAY,INC. d/b/a SAFEWAY #1494;
     AND TO:       "DOE BUSINESS"
19   AND TO:       JOHN DOES 1-10;
20
            A lawsuit has been started against you in the above-entitled Court by the above-named
21
     Plaintiffs. Plaintiffs claims are stated in the written Complaint, a copy of which is served
22
     upon you with this Summons.
23
            In order to defend against this lawsuit, you must respond to the Complaint by stating
24

25   your defense in writing, and serve a copy upon the undersigned attorney(s) for the Plaintiffs

26   within twenty (20) days after the service of this Summons if served within the State of

27   Washington, or within sixty (60) days after service if served outside the State of Washington,
28
     SUMMONS - I                                                             COONEY LAWOFFICES, P.S.
                                                                                   330 W. INDIANA AVE.
                                                                           SPOKANE, WASHINGTON 99205
                                                                                         (509) 326-2613
                                                                                     F AX (509) 325-1859
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 1   excluding the day of service, or a default judgment may be filed against you without notice.
 2   A default judgment is one where the Plaintiffs are entitled to what they ask for because you
 3
     have not responded. If you serve a Notice of Appearance on the undersigned attorney(s), you
 4
     are entitled to notice before a defaultjudgment may be entered.
 5
            You may demand that the Plaintiffs file this lawsuit with the Court. If you do so, the
 6

 7   demand must be in writing and. must be served upon the person(s) signing this Summons.

 8   Within fourteen (14) days after you serve the demand, the Plaintiffs must file this lawsuit with

 9   the Court, or the service upon you of this Summons and Complaint will be void.
10
            If you wish to seek the advice of an attorney in this matter, you should do so promptly
11
     so that your written response, if any, may be served on time.
12
            This Summons is issued pursuant to Rule 4 of the Superior Court Civil Rules of the
13
14   State of Washington and RCW 4.28.180.

15
                            qi11\
16          DATED this      ' day of May,
                                        ,2022.
17                                                COONEY ',<CV OFFJCESJ.S.
18

19                                                 By
                                                 • Steph n    Bergman, WSBA #44816
20                                                 James L. Cooney, WSBA # 10772
                                                   Tamarac Cooney Leong, WSBA #46768
21
22                                                Attorneys for Plaintiff
                                                  330 W.Indiana Avenue
23                                                Spokane, WA 99205

24

25

26

27

28
     SUMMONS -2                                                                COONEY LAW OFFICES, P.S.
                                                                                      330 W. INDIANA AVE.
                                                                             SPOKANE, WASHINGTON 99205
                                                                                           (509) 326-2613
                                                                                        FAX (5091 325-1659
